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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       HUAWEI TECHNOLOGIES, CO, LTD, et               Case No. 3:16-cv-02787-WHO
                                           al.,
                                   8                  Plaintiffs,                         CLAIM CONSTRUCTION ORDER
                                   9             v.
                                  10
                                           SAMSUNG ELECTRONICS CO, LTD., et
                                  11       al.,
                                                      Defendants.
                                  12
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 United States District Court




                                  13                                          INTRODUCTION

                                  14           This case involves a dispute between telecommunications giants Huawei Technologies

                                  15   Co., Ltd., Huawei Device USA, Inc., and Huawei Technologies USA, Inc., and Counterclaim-

                                  16   Defendant HiSilicon Technologies Co., Ltd. (collectively, “Huawei”) and Samsung Electronics

                                  17   Co., Ltd., Samsung Electronics America, Inc., and Samsung Research America, Inc. (collectively,

                                  18   “Samsung”). Patents held by each party have been declared essential (“Standard Essential

                                  19   Patents” or “SEPs”) to the Long Term Evolution (LTE) standard used by the telecommunications

                                  20   industry. The parties reached an impasse while negotiating cross-licenses for their SEPs with fair,

                                  21   reasonable, and non-discriminatory (“FRAND”) terms and conditions, and this action (among

                                  22   others across the world), encompassing claims of patent infringement, breach of contract, and anti-

                                  23   trust violations, ensued. Huawei has asserted 11 patents against Samsung, and Samsung has

                                  24   asserted nine patents against Huawei.1 I rejected Huawei’s proposal to bifurcate and stay the

                                  25
                                       1
                                  26     Huawei has asserted U.S. Patent Nos. 8,369,278 (“the ’278 patent”); 8,416,892; 8,483,166 (“the
                                       ’166 patent”); 8,812,848; 8,644,239 (“the ’239 patent”); 8,885,587; 8,885,583; 8,639,246 (“the
                                  27   ’246 patent”); 8,412,197 (“the ’197 patent”); 8,996,003; and 8,724,613 (“the ’613 patent”).
                                       Samsung has asserted U.S. Patent Nos. 8,228,827, 8,315,195 (“the ’195 patent”), RE44,105,
                                  28   8,457,588 (“the ’588 patent”), 8,509,350, 9,113,419, 8,619,726 (“the ’726 patent”), 8,761,130
                                       (“the ’130 patent”), and 9,288,825 (“the ’825 patent”).
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                                   1   patent claims pending resolution of the FRAND-related claims and, in accordance with the local

                                   2   patent rules, I limited each party to selecting five most significant terms for the purpose of claim

                                   3   construction. I held a Claim Construction hearing on August 18, 2017.

                                   4                                            LEGAL STANDARD

                                   5           Claim construction is a matter of law. See Markman v. Westview Instruments, Inc., 517

                                   6   U.S. 370, 372 (1996); Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996).

                                   7   Terms contained in claims are “generally given their ordinary and customary meaning.” Vitronics,

                                   8   90 F.3d at 1582. In determining the proper construction of a claim, a court begins with the

                                   9   intrinsic evidence of record, consisting of the claim language, the patent specification, and, if in

                                  10   evidence, the prosecution history. Phillips v. AWH Corp., 415 F.3d 1303, 1313 (Fed. Cir. 2005);

                                  11   see also Vitronics, 90 F.3d at 1582. “A claim term used in multiple claims should be construed

                                  12   consistently . . . .” Inverness Med. Switzerland GmbH v. Princeton Biomeditech Corp., 309 F.3d
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                                  13   1365, 1371 (Fed. Cir. 2002).

                                  14           “The appropriate starting point . . . is always with the language of the asserted claim itself.”

                                  15   Comark Commc’ns, Inc. v. Harris Corp., 156 F.3d 1182, 1186 (Fed. Cir. 1998). “[T]he ordinary

                                  16   and customary meaning of a claim term is the meaning that the term would have to a person of

                                  17   ordinary skill in the art in question at the time of the invention, i.e., as of the effective filing date

                                  18   of the patent application.” Phillips, 415 F.3d at 1312. “There are only two exceptions to this

                                  19   general rule: 1) when a patentee sets out a definition and acts as his own lexicographer, or 2) when

                                  20   the patentee disavows the full scope of a claim term either in the specification or during

                                  21   prosecution.” Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012).

                                  22           “Importantly, the person of ordinary skill in the art is deemed to read the claim term not

                                  23   only in the context of the particular claim in which the disputed term appears, but in the context of

                                  24   the entire patent, including the specification.” Phillips, 415 F.3d at 1313. “Claims speak to those

                                  25   skilled in the art,” but “[w]hen the meaning of words in a claim is in dispute, the specification and

                                  26   prosecution history can provide relevant information about the scope and meaning of the claim.”

                                  27   Electro Med. Sys., S.A. v. Cooper Life Scis., Inc., 34 F.3d 1048, 1054 (Fed. Cir. 1994) (citations

                                  28   omitted). “[T]he specification is always highly relevant to the claim construction analysis.
                                                                                            2
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                                   1   Usually, it is dispositive; it is the single best guide to the meaning of a disputed term.” Vitronics,

                                   2   90 F.3d at 1582. “However, claims are not to be interpreted by adding limitations appearing only

                                   3   in the specification.” Id. “Thus, although the specifications may well indicate that certain

                                   4   embodiments are preferred, particular embodiments appearing in a specification will not be read

                                   5   into the claims when the claim language is broader than such embodiments.” Id. Conversely,

                                   6   “where [ ] the claim language is unambiguous, [the Federal Circuit has] construed the claims to

                                   7   exclude all disclosed embodiments.” Lucent Techs., Inc. v. Gateway, Inc., 525 F.3d 1200, 1215-

                                   8   16 (Fed. Cir. 2008). “[T]he description may act as a sort of dictionary, which explains the

                                   9   invention and may define terms used in the claims,” and the “patentee is free to be his own

                                  10   lexicographer,” but “any special definition given to a word must be clearly defined in the

                                  11   specification.” Markman, 517 U.S. at 989-90.

                                  12          On the other hand, it is a fundamental rule that “claims must be construed so as to be
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                                  13   consistent with the specification.” Phillips, 415 F.3d at 1316. “The construction that stays true to

                                  14   the claim language and most naturally aligns with the patent’s description of the invention will be,

                                  15   in the end, the correct construction.” Renishaw PLC v. Marposs Societa’ per Azioni, 158 F.3d

                                  16   1243, 1250 (Fed. Cir. 1998).

                                  17          Finally, the court may consider the prosecution history of the patent, if in evidence.

                                  18   Markman, 52 F.3d at 980. The prosecution history may “inform the meaning of the claim

                                  19   language by demonstrating how the inventor understood the invention and whether the inventor

                                  20   limited the invention in the course of prosecution, making the claim scope narrower than it would

                                  21   otherwise be.” Phillips, 415 F.3d at 1317 (citing Vitronics, 90 F.3d at 1582-83); see also Chimie

                                  22   v. PPG Indus., Inc., 402 F.3d 1371, 1384 (Fed. Cir. 2005) (“The purpose of consulting the

                                  23   prosecution history in construing a claim is to exclude any interpretation that was disclaimed

                                  24   during prosecution.”) (internal quotations omitted).

                                  25          In most situations, analysis of this intrinsic evidence alone will resolve claim construction

                                  26   disputes. Vitronics, 90 F.3d at 1583. However, “it is entirely appropriate . . . for a court to consult

                                  27   trustworthy extrinsic evidence to ensure that the claim construction it is tending to from the patent

                                  28   file is not inconsistent with clearly expressed, plainly apposite, and widely held understandings in
                                                                                          3
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                                   1   the pertinent technical field.” Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1309

                                   2   (Fed. Cir. 1999). Extrinsic evidence “consists of all evidence external to the patent and

                                   3   prosecution history, including expert and inventor testimony, dictionaries, and learned treatises.”

                                   4   Markman, 52 F.3d at 980. All extrinsic evidence should be evaluated in light of the intrinsic

                                   5   evidence, Phillips, 415 F.3d at 1319, and courts should not rely on extrinsic evidence in claim

                                   6   construction to contradict the meaning of claims discernible from examination of the claims, the

                                   7   written description, and the prosecution history, Pitney Bowes, 182 F.3d at 1308 (citing Vitronics,

                                   8   90 F.3d at 1583). While extrinsic evidence may guide the meaning of a claim term, such evidence

                                   9   is less reliable than intrinsic evidence. Phillips, 415 F.3d at 1318-19.

                                  10                                              DISCUSSION

                                  11            The parties agree on the construction of one term, U.S. Patent No. 8,812,848, claim nine:

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                                                          Claim Term                                      Agreed Construction
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                                  13   “A method for security capability negotiation         Preamble is limiting
                                       during idle state mobility of a user equipment
                                  14   (UE), in a situation where the UE moves from a
                                       non-long term evolution (non-LTE) network to
                                  15   a long term evolution (LTE) network, the
                                       method comprising:”
                                  16
                                       Joint Claim Construction and Prehearing St. at 1; see id. at Ex. A (Dkt. No. 124-1).
                                  17
                                       I.       HUAWEI’S FIVE MOST SIGNIFICANT CLAIM TERMS
                                  18
                                                A.        “[wherein the field is] dynamically indicative of one of payload size or a
                                  19                     redundancy version (RV) [through the state of the field]” (‘278 Patent, claims
                                                         1 and 7)
                                  20
                                                       HUAWEI’S                         SAMSUNG’S                       COURT’S
                                  21                  PROPOSAL                          PROPOSAL                   CONSTRUCTION
                                             No construction necessary.         “variably indicating         “variably indicating between
                                  22                                            between (1) payload size     (1) payload size and (2) a
                                             Alternatively, “the field is       and (2) a Redundancy         Redundancy Version (RV)
                                  23         dynamically indicative of one      Version (RV) [based on the [based on the values of all the
                                  24         of a payload size or a             values of all the N bits of  N bits of the field]”;
                                             Redundancy Version (RV)            the field]”                  this language does not exclude
                                  25         through the state of the field”;                                a default value for the RV
                                             this language does not exclude                                  when the field indicates
                                  26         a default value for the RV                                      payload size
                                             when the field indicates
                                  27         payload size
                                  28
                                                                                         4
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                                   1           The ‘278 patent aims to reduce waste of physical resources in control signaling between a

                                   2   base station and a terminal (e.g., mobile device). ‘278 Patent at 3:32–35 (Dkt. No. 141-10). It

                                   3   does this by transmitting a packet’s payload size and a redundancy version (RV) through different

                                   4   states of one field in the control signaling.2 Id. at 3:36–41; 5:1–14.

                                   5           Exemplary claim 1 provides, in part,

                                   6                  A method of signaling, comprising:
                                                      receiving, by a terminal, control signaling comprising a field,
                                   7                      wherein the field includes N bits that are either 1 or 0, and a state
                                                          of the field is indicated by all the N bits of the field; wherein N
                                   8                      is a positive integer greater than 1; wherein the field is
                                                          dynamically indicative of one of a payload size or a
                                   9                      Redundancy Version (RV) through the state of the field,
                                                          wherein the payload size is indicated through a first state of the
                                  10                      field when the first state is within a first predetermined range
                                                          and the RV is indicated through a second state of the field when
                                  11                      the second state is within a 10 second predetermined range
                                                          distinct from the first predetermined range;
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                                       ’278 patent at 11:60–2:9 (emphasis added to claim term).
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                                  13
                                               Huawei urges that this term does not require construction “because the claim term just uses
                                  14
                                       ordinary words in ordinary ways.” Huawei’s Op. Br. at 4 (Dkt. No. 141).3 While this may be
                                  15
                                       true, it is not the meaning of the words that determines whether a term needs to be construed, it is
                                  16
                                       whether there is an actual dispute over the scope of the term. “A determination that a claim term
                                  17
                                       ‘needs no construction’ or has the ‘plain and ordinary meaning’ may be inadequate when a term
                                  18
                                       has more than one ‘ordinary’ meaning or when reliance on a term’s ‘ordinary’ meaning does not
                                  19
                                       resolve the parties’ dispute.” O2 Micro, 521 F.3d at 1361.
                                  20
                                               That is the case here, where the parties clearly disagree on the scope of the term. Samsung
                                  21
                                       cites to the claim language itself, the specification, and the prosecution history to argue that the
                                  22
                                       single field transmits “only one of the two parameters recited in the claims—payload size or RV—
                                  23

                                  24
                                       2
                                  25     A packet consists of a data or payload portion and a control portion. Ex. A, Glossary of
                                       Telecommunication Terms, FED-STD-1037C, at P-1 (Dkt. No. 141-1). The payload size tells a
                                  26   mobile device how big the payload portion of a packet should be, and the RV indicates how to
                                       transmit or retransmit the packet.
                                  27   3
                                        Huawei also offers an alternative construction providing the claim language, and additional
                                  28   guidance that clearly indicates that the claim does not exclude a default value for RV.

                                                                                          5
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                                   1   at any given time.” Samsung’s Resp. at 4 (Dkt. No. 150). And it proposes substituting different

                                   2   words and inserting the word “between” to effectively convey this concept. Id. at 5. It insists that

                                   3   Huawei’s construction would impermissibly allow it “to extend its monopoly protection to ‘joint

                                   4   encoding’ where two or more parameters are encoded in a single field at the same time.”4 Id. at 6.

                                   5   It brushes off Huawei’s interpretation that the transmission includes a default value for the

                                   6   parameter not “dynamically indicated” by arguing that the “default value itself is not included in

                                   7   the control signaling[,]” rather, “the receiver might be preprogrammed to use some default value

                                   8   for RV.” Id. at 6–7.

                                   9           Both parties’ points have validity. Samsung is correct in that the claim language supports

                                  10   its contention that the field indicates one or the other. ‘278 Patent, claim 1 at 12:2–3 (“wherein the

                                  11   field is dynamically indicative of one of a payload size or a Redundancy Version (RV),” emphasis

                                  12   added). And the specification repeatedly reinforces this interpretation. ‘278 Patent at 4:39–40
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                                  13   (“[T]he control signaling in every transmission may indicate either payload size or RV.”); id. at

                                  14   4:52–54 (“It is appropriate that some states of the field indicate the payload size, and the

                                  15   remaining states indicate the RV.”); id. at 5:37–39; id. at 6:19–21; id. at 6:44–46; id. at 7:13–15;

                                  16   id. at 8:19–21; id. at 9:20–21; id. at 10:30–32; id. at 11:1–3 (“The foregoing embodiments of the

                                  17   present invention reveal that different states of one field in the control signaling may indicate the

                                  18   payload size or RV.”, emphasis added). Moreover, the specification explicitly states, “[t]he

                                  19   default value may not be indicated in the control signaling.” ‘278 Patent at 3:16–17; id. at 4:31–

                                  20   32. Rather, the control signaling may indicate payload size, and the default value of RV applies.5

                                  21   E.g., ‘278 Patent at 5:37–39; id. at 6:19–21.

                                  22           But Huawei argues that the field can implicitly indicate a default value for RV while

                                  23

                                  24   4
                                         The ‘joint encoding’ use of the field is described in the 3GPP standards, which Huawei relies on
                                  25   to show infringement. Samsung’s Resp. at 7.
                                       5
                                  26     The claims do not articulate precisely how the default value applies, and Huawei repeatedly
                                       expresses concern that adopting Samsung’s proposed construction would preclude the possibility
                                  27   that a default value for RV is implicitly indicated when the field is dynamically indicative of
                                       payload size. In this vein, it insists that Samsung’s proposal reads “dynamically” out of the claim
                                  28   term. But I disagree. I think Huawei’s interpretation reads dynamically out of the term.
                                       Regardless, my construction clarifies this issue.
                                                                                          6
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                                   1   explicitly indicating payload size. Huawei’s Op. Br. at 5. For this reason, it proposes adding as a

                                   2   clarification, “this language does not exclude a default value for the RV when the field indicates

                                   3   payload size.” Id. at 4. It cites to claim 2 (and analogous claim 8) for support, and contends that

                                   4   Samsung’s construction is inconsistent with these dependent claims. Id. at 5. Claim 2 provides,

                                   5   “The method of claim 1, further comprising: determining, by the terminal, that the RV is a default

                                   6   value if the received control signaling is indicative of the pay load size on the field.” ‘278 patent

                                   7   at 12:12–15. As Samsung points out, that a terminal might use a default value for RV does not

                                   8   mean that default value was indicated by the control signaling. See Samsung’s Resp. at 7. The

                                   9   dependent claims actually support this conclusion because the terminal determines that the RV is a

                                  10   default value when the control signaling is indicative of the payload size—not that the control

                                  11   signaling is indicative (dynamically or implicitly) of both. Samsung’s proposed construction does

                                  12   not “exclude material covered by the dependent claim[,]” Trustees of Columbia Univ. in City of
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                                  13   N.Y. v. Symantec Corp., 811 F.3d 1359, 1370 (Fed. Cir. 2016), because it does not exclude a

                                  14   default value for RV.

                                  15          Adding Huawei’s language removes any controversy. Because Samsung’s proposed

                                  16   language makes it clear that the field can only indicate either payload size or RV, and Huawei’s

                                  17   addition affirms that a default value may exist for the RV when the field indicates payload size, I

                                  18   will construe the term that way.

                                  19          B.      “a group number k of a sequence group allocated by the system” (‘239 Patent,
                                                     claims 6 and 17)
                                  20                HUAWEI’S                    SAMSUNG’S                      COURT’S
                                                    PROPOSAL                    PROPOSAL                   CONSTRUCTION
                                  21
                                           “a group number k of a        The value k is the same     “a group number k allocated
                                  22       sequence group allocated by   throughout the claim.       by the system, where the
                                           the system”                                               group number k identifies a
                                  23                                                                 sequence group and where the
                                                                                                     value k is the same throughout
                                  24                                                                 the claim.”
                                  25

                                  26          The ‘239 patent discloses a method for reducing interference in a communication system
                                  27   by allocating sequences according to their correlation. ’239 patent, Abstract (Dkt. No. 141-9). It
                                  28   teaches how to form “sequence groups” with high correlation, and then break down those
                                                                                     7
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                                   1   sequence groups into subgroups. Id. at 4:5–9; id. at 5:34–47. It then teaches how to select a group

                                   2   number k of a sequence group using one or more of four mathematical relationships, generating

                                   3   high correlation between sequences and reduced correlation/low interference between groups. Id.

                                   4   at 21:35–39.

                                   5            Representative claim 6 provides,

                                   6                    A method for processing sequences in a communication system,
                                                            comprising:
                                   7                    obtaining, by a cell or a base station or a user equipment, a group
                                                            number k of a sequence group allocated by the system;
                                   8                    selecting, by the cell or the base station or the user equipment, n
                                                            sequences from a candidate sequence collection to form
                                   9                        sequences in a sub-group i in a sequence group k;
                                                        wherein n is a natural number, i is a serial number of the sub-group,
                                  10                        k is a serial number of the sequence group, a value of a basic
                                                            sequence index ri in the sub-group i in the sequence group k is at
                                  11                        least one of └k·Ni/N1┘, ┌k·Ni/N1┐, └k·Ni/N1┘+1 or
                                                            ┌k·Ni/N1┐−1, wherein Ni is a length of a sequence in the
                                  12                        candidate sequence collection, N1 is a length of a reference sub-
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                                                            group sequence;
                                  13                    generating, by the cell or the base station or the user equipment,
                                                            corresponding sequences according to the sequences in the
                                  14                        formed sub-group; and
                                                        communicating, by the cell or the base station or the user equipment,
                                  15                        according to the sequences on time frequency resources
                                                            corresponding to the sub-group i.
                                  16
                                       ’239 patent at 25:1–23 (emphasis added to claim term).
                                  17
                                                The parties dispute the interpretation of this claim term—does the system allocate a
                                  18
                                       sequence group, or a group number k?6 Huawei concedes that the “nature of the English
                                  19
                                       language” makes this claim term ambiguous because “allocated by the system” could modify
                                  20
                                       either “a sequence group” or “a group number k.” Huawei’s Op. Br. at 8. Huawei’s proposed
                                  21
                                       construction makes clear that the claim term intends the latter interpretation. Samsung argues that
                                  22
                                       this admitted ambiguity renders these claims invalid as indefinite. Samsung’s Resp. Br. at 9.
                                  23
                                       Alternatively, Samsung insists that “the value of k—once set—must be fixed for all instances of
                                  24
                                       ‘k’ recited in the claim.” Id. Huawei, for its part, stated that it “would not disagree” with
                                  25
                                       Samsung’s proposed construction and conceded that a combination of the proposals would be
                                  26
                                       acceptable. Huawei’s Op. Br. at 8.
                                  27

                                  28   6
                                           The claims define k as “a serial number of the sequence group.”
                                                                                           8
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                                   1          When reading this claim term in context of the surrounding language and in light of the

                                   2   specification, it is clear that “a group number k” is “obtain[ed]” by being “allocated by the

                                   3   system.” ‘239 Patent at 25:3–5; id. at 21:4–5; see ACTV, Inc. v. Walt Disney Co., 346 F.3d 1082,

                                   4   1088 (Fed. Cir. 2003)(“While certain terms may be at the center of the claim construction debate,

                                   5   the context of the surrounding words of the claim also must be considered in determining the

                                   6   ordinary and customary meaning of those terms”). Moreover, the potential for ambiguity in the

                                   7   claim language does not rise to the level of indefiniteness. See Nautilus, Inc. v. Biosig

                                   8   Instruments, Inc., 134 S. Ct. 2120, 2124 (2014)(“[A] patent is invalid for indefiniteness if its

                                   9   claims, read in light of the specification delineating the patent, and the prosecution history, fail to

                                  10   inform, with reasonable certainty, those skilled in the art about the scope of the invention.”).

                                  11   Since the claim language defines k as “a serial number of the sequence group[,]” ‘239 Patent at

                                  12   25:11 (emphasis added), including in the claim the modifying language “of a sequence group”
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                                  13   after “k” is certainly redundant, but it does not amount to an “error” subject to “reasonable debate”

                                  14   that should not be corrected by a court. See Novo Indus., L.P. v. Micro Molds Corp., 350 F.3d

                                  15   1348, 1354 (Fed. Cir. 2003)(“We hold that a district court can [correct an error] only if (1) the

                                  16   correction is not subject to reasonable debate based on consideration of the claim language and the

                                  17   specification and (2) the prosecution history does not suggest a different interpretation of the

                                  18   claims.”).

                                  19          Since Huawei is amenable to a combined construction, this term will be construed as

                                  20   follows, “a group number k allocated by the system, where the group number k identifies a

                                  21   sequence group and where the value k is the same throughout the claim.”

                                  22          C.      “receiving by a user equipment (UE), a service sent by a base
                                                     station”/”receive a service sent by a base station” (‘613 Patent, claims 1 and 5)
                                  23               HUAWEI’S                       SAMSUNG’S                       COURT’S
                                                   PROPOSAL                        PROPOSAL                   CONSTRUCTION
                                  24
                                           No construction necessary.      “receiving, by a user         No construction necessary.
                                  25                                       equipment, the value of a
                                                                           service sent by a base
                                  26                                       station” / “receive the value
                                                                           of a service sent by a base
                                  27                                       station”
                                  28
                                                                                          9
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                                   1          The ‘613 patent enables mobile devices to know when and where to locate a service when

                                   2   a base station transmits it within a specific transmission unit, a fixed block of time called a radio

                                   3   frame. ‘613 at 5:10–51 (Dkt. No. 141-11). A frame is composed of a number of subframes, and a

                                   4   service may occupy one of more subframes. Id. at 1:59–63. Huawei contends that this term does

                                   5   not require construction, while Samsung proposes substituting the phrase “value of a service” for

                                   6   the word “service.” Huawei’s Op. Br. at 11; Samsung’s Resp. Br. at 10. Although the word

                                   7   “value” appears nowhere in the claim, Samsung argues that “[t]here is no question as to what the

                                   8   term ‘value’ means in the context of the claims and specification” and it “means the information in

                                   9   the service[.]” Samsung’s Resp. Br. at 14.

                                  10          Claim 1 provides, in part,

                                  11                  A method for communicating, comprising:
                                                      receiving, by a user equipment (UE), a service sent by a base
                                  12                      station, the service being sent in one or more subframes that are
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                                                          designated as specific subframes, the specific subframes being
                                  13                      selected from one or more radio frames that are designated as
                                                          specific radio frames, the specific radio frames being selected
                                  14                      from a time unit, wherein the time unit comprises 2M radio
                                                          frames, each of the radio frames containing a number R of
                                  15                      subframes that can be allocated to carry the service, where R is a
                                                          natural number, and M is a nonnegative integer[.]
                                  16   ’613 Patent at 18:24–34 (emphasis added to claim term).
                                  17          Samsung acknowledges that the UE receives the service itself, but bewilderingly argues

                                  18   that construing “service” to mean “value of service” somehow clarifies this meaning. See

                                  19   Samsung’s Resp. Br. at 13 (“Every single claim in the ’613 patent is directed to a UE receiving a

                                  20   service, and not some unknown value or representation of a service[.]”); Huawei Reply at 9–10.

                                  21   But the specification repeatedly refers only to a “service.” E.g., ’613 Patent at 5:59–64 (“[A] part

                                  22   or all of subframes in the specific radio frames are selected as specific subframes for sending the

                                  23   specific service. The specific service may be a multimedia broadcast multicast service, or a

                                  24   unicast service, or one or more than one kinds of services transmitted in broadcast or multicast

                                  25   mode.”); id. at 7:41–47 (“[A] method for transmitting service….”). I agree with Huawei that

                                  26   Samsung’s proposal “fails to resolve any such purported issue because Samsung’s construction

                                  27   does not define a ‘service.’” Huawei’s Op. Br. at 12.

                                  28          I do not see an actual dispute as to the scope of this term, but to the extent one may exist,
                                                                                         10
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                                   1   Samsung’s proposed construction does nothing to provide clarity. The plain and ordinary

                                   2   meaning controls and construction is unnecessary.

                                   3            D.      “a first P-temporary Mobile Station Identity (P-TMSI) in an access message”
                                                       (‘166 Patent, claims 1 and 12)
                                   4                 HUAWEI’S                        SAMSUNG’S                      COURT’S
                                                     PROPOSAL                        PROPOSAL                  CONSTRUCTION
                                   5
                                             No construction necessary.      “a P-temporary Mobile       “a P-temporary Mobile
                                   6                                         Station Identity (P-TMSI)   Station Identity (P-TMSI)
                                                                             field in an access message” field in an access message”
                                   7

                                   8
                                                Wireless networks consist of a Core Network (CN) and a Radio Access Network (RAN).
                                   9
                                       ‘166 patent at 1:29–31 (Dkt. No. 141-12). Legacy networks, such as 2G and 3G, and evolved
                                  10
                                       networks, such as 4G/LTE, use different network architecture, within both the RAN and the CN,
                                  11
                                       to enable user equipment (UE), such as mobile devices, to access the internet. In legacy networks,
                                  12
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                                       the RAN includes Radio Network Controllers (RNC) and NodeBs. Id. at 1:44–46. And the CN
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                                  13
                                       includes Serving GPRS Support Nodes (SGSN). Id. at 1:46. In an evolved network, the RAN
                                  14
                                       nodes are called eNodeBs and the CN nodes are called Mobility Management Entity (MMEs). Id.
                                  15
                                       at 2:46–50.
                                  16
                                                Each UE has a temporary identifier, called a Packet Temporary Mobile Subscriber Identity
                                  17
                                       (P-TMSI) in legacy networks and the Global Unique Temporary Identifier (GUTI)7 in the LTE/4G
                                  18
                                       system. The P-TMSI is a 32-bit number that contains certain information, including a Network
                                  19
                                       Resource Identifier (NRI), which contains the address of the SGSN, a restart id, and an id for the
                                  20
                                       UE. ‘166 patent at 5:30–43.
                                  21
                                                The prior art taught methods for UEs moving between areas covered by different RNCs
                                  22
                                       within a legacy network. The ’166 inventor recognized a problem when a UE moves from an LTE
                                  23
                                       network to a legacy network because the UE lacks a P-TMSI. Without a P-TMSI, the legacy
                                  24
                                       network could not identify the UE and obtain its context information. ’166 patent at 3:27–33.
                                  25
                                       Without the context information, the UE may experience an interruption in service. Id. at 3:33–
                                  26
                                  27
                                       7
                                  28     The ’166 patent refers to this next generation temporary identifier as SAE-TMSI because, at the
                                       time of the application, the 3GPP had not yet finalized the standard.
                                                                                         11
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                                   1   34.

                                   2          To solve this problem, the ’166 patent discloses a method and apparatus for a UE to access

                                   3   a legacy network from an evolved network using information extracted from its GUTI. ‘166

                                   4   patent, Abstract. The invention enables the legacy network to locate the MME accessed by the UE

                                   5   in the evolved network without changing a RNC and a SGSN on the legacy network. Id. The UE

                                   6   creates an access message called a Radio Resource Control (RRC) message and places the

                                   7   information extracted from the GUTI in P-TMSI. The RRC message has two portions—an access

                                   8   stratum portion intended for the RAN node and a non-access stratum (NAS) portion intended for

                                   9   the CN. The parties dispute whether the “first-PTMSI” must occupy a specific location within the

                                  10   RRC message—the access stratum portion rather than the NAS portion.

                                  11          Claim 1 provides,

                                  12                  A method for accessing a 2G/3G network comprising:
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                                                      obtaining, by a User Equipment (UE), a temporary identity (ID)
                                  13                     allocated by a Mobility Management Entity (MME) in an
                                                         evolved network, wherein the temporary ID comprises MME
                                  14                     information for identifying the MME;
                                                      adding, by the UE, the MME information from the temporary ID to
                                  15                     a first P-Temporary Mobile Station Identity (P-TMSI) in an
                                                         access message;
                                  16                  sending, by the UE, the access message to a Radio Access Network
                                                         (RAN) node in the 2G/3G network.
                                  17
                                       ‘166 patent at 17:46–56 (emphasis added to claim term).
                                  18
                                              Huawei contends that this term does not require construction, whereas Samsung proposes
                                  19
                                       inserting the word “field” after P-TMSI to convey that the first P-TMSI must be contained directly
                                  20
                                       in the access message. Huawei’s Op. Br. at 14; Samsung’s Resp. Br. at 17–18. Huawei insists
                                  21
                                       that “nothing in the intrinsic evidence requires that the P-TMSI be located in any particular place
                                  22
                                       in the access message.” Huawei’s Op. Br. at 15. And it urges that Samsung’s proposal “runs the
                                  23
                                       risk of improperly limiting the scope of the more generic term P-TMSI that is used more
                                  24
                                       frequently [dozens of times compared to just three times for P-TMSI field] throughout the intrinsic
                                  25
                                       evidence.” Id. It highlights preferred embodiments to support its position. See ’166 Patent at
                                  26
                                       5:44–52 (P-TMSI in an RAU Request message, not directly in an Initial Direct Transfer access
                                  27
                                       message); id. at 11:17–28 (two P-TMSIs in the IDT message).
                                  28
                                                                                        12
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                                   1           Samsung justifies its proposed construction by pointing to unasserted dependent claim 7

                                   2   and language in the specification that suggests a distinction between a “first P-TMSI” as a

                                   3   particular field of the access message and a “second P-TMSI” that is part of the NAS message.

                                   4   Samsung’s Resp. Br. at 17–18. It then asserts that “Huawei attempts to blur the distinction in

                                   5   order to support an infringement argument” by contending that “the claimed ‘first P-TMSI’ can

                                   6   correspond to either of the two P-TMSIs described in the patent specifications: i.e., the P-TMSI in

                                   7   the access message or the P-TMSI in the NAS message.” Id. at 18–19.

                                   8           “The use of the terms ‘first’ and ‘second’ is a common patent-law convention to

                                   9   distinguish between repeated instances of an element or limitation[,]” but it “should not in and of

                                  10   itself impose a serial or temporal limitation onto [the] claim[.]” 3M Innovative Properties Co. v.

                                  11   Avery Dennison Corp., 350 F.3d 1365, 1371 (Fed. Cir. 2003); see also Free Motion Fitness, Inc. v.

                                  12   Cybex Int'l, Inc., 423 F.3d 1343, 1348 (Fed. Cir. 2005)(“First does not denote spatial location, that
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                                  13   is, it does not suggest where on the first extension arm or the second extension arm the pivot

                                  14   points are located[,]” internal quotation marks omitted). Samsung offers three reasons why the use

                                  15   of “first” and “second” here should impose a locational limitation: the specification’s treatment of

                                  16   the “first” and the “second” P-TMSIs; the applicant’s choice to use “first” and “second” to

                                  17   distinguish between the claimed “first-PTMSI” and the claimed “second-PTMSI;” and, dependent

                                  18   claims 16 and 17, which “further configure[]” independent claim 12 to add a second-PTMSI to a

                                  19   NAS message. Samsung’s Resp. Br. at 19. Samsung’s arguments convince me that it is more

                                  20   than the use of “first” and “second” “in and of [themselves]” that warrants adopting its proposed

                                  21   construction; it is reading the claims “in the context of the entire patent[.]” Phillips, 415 F.3d at

                                  22   1313.

                                  23           “Other claims of the patent in question, both asserted and unasserted, can also be valuable

                                  24   sources of enlightenment as to the meaning of a claim term. Because claim terms are normally

                                  25   used consistently throughout the patent, the usage of a term in one claim can often illuminate the

                                  26   meaning of the same term in other claims.” Retractable Techs., 653 F.3d at 1314 (internal citation

                                  27   omitted). Viewing the surrounding claims and the specification demonstrates that the use of

                                  28   “first” and “second” connotes more than “repeated instances of an element.” Rather, the reference
                                                                                         13
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                                   1   to “a first P-[TMSI] in an access message” must reference the P-TMSI in the access stratum

                                   2   portion of the access message whether or not there are one or two P-TMSIs.8 Otherwise, the

                                   3   invention would not work. ’166 Patent at 5:52–58 (“The RNC can see only the RRC message but

                                   4   does not parse the NAS message. According to the NRI information in the P-TMSI field carried

                                   5   on an Intra Domain NAS Node Selector Network Element (NE) of the RRC message, the RNC

                                   6   selects the corresponding SGSN, establishes a connection with the SGSN, and forwards the NAS

                                   7   message to the SGSN.”). The whole purpose of the invention is to send MME identifying

                                   8   information to the RAN node of the legacy network. Since the RAN network only accesses the

                                   9   access-stratum of the RRC message, the golden ticket must be located therein. I recognize the

                                  10   “fine line between construing the claims in light of the specification and improperly importing a

                                  11   limitation from the specification into the claims[,]” Retractable Techs., 653 F.3d at 1305, but this

                                  12   construction is the only way “to capture the scope of the actual invention, rather than … allow the
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                                  13   claim language to become divorced from what the specification conveys is the invention.”

                                  14   Retractable Techs., 653 F.3d at 1305.

                                  15            E.      “dedicated priority list” (‘197 Patent, claims 1, 5, 7–9, 14, 15; ‘246 Patent,
                                                        claims 1, 2, 6–8, 10–12, 16–18, 20; ‘003 Patent, claims 1–4, 7–9, 12, 14–20)
                                  16                  HUAWEI’S                       SAMSUNG’S                         COURT’S
                                                      PROPOSAL                        PROPOSAL                    CONSTRUCTION
                                  17
                                             No construction necessary.       “dedicated list that includes “Priority List for the specific
                                  18                                          different radio access         terminal”
                                             Alternatively, “Priority List    technologies listed in order
                                  19         For the Specific Terminal”       of priority”
                                  20

                                  21            The ‘197, ‘246, and ‘003 patents (“the ‘197 family”) describe methods for a mobile device

                                  22   to “reselect” a cell in LTE and non-LTE networks when, for instance, the mobile device moves

                                  23   geographically into a new cell and the signal degrades. E.g., ’197 Patent, Abstract (Dkt. No. 141-

                                  24
                                       8
                                  25     And, by implication, regardless of the dependent claims. I agree with Samsung that Huawei’s
                                       claim differentiation argument is a red herring. Construing “first-PTMSI” to refer to the PTMSI
                                  26   in the access stratum portion of the access message does not read out any limitation imposed by
                                       the dependent claims. See Seachange Int'l, Inc. v. C-COR, Inc., 413 F.3d 1361, 1368 (Fed. Cir.
                                  27   2005)(“The doctrine of claim differentiation stems from the common sense notion that different
                                       words or phrases used in separate claims are presumed to indicate that the claims have different
                                  28   meanings and scope[,]” internal quotation marks omitted).

                                                                                         14
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                                   1   13). The cell-reselection process existed in the prior art, but the ’197 family aimed to solve

                                   2   problems associated with excessive signaling and increased costs associated with network

                                   3   upgrading. Id.; see also ’197 patent at 1:65–2:9. The ’197 family teaches a method in which a

                                   4   terminal (e.g., mobile device) inherits a dedicated priority list from the LTE cell and follows the

                                   5   priorities indicated in that list during a “valid time,” even after re-selecting to a non-LTE cell. See,

                                   6   e.g., ‘197 patent at 1:42–58; id. at 2:3–31; id. at 2:53–3:3.

                                   7          Exemplary claim 1 from the ’197 patent provides,

                                   8                  A method for cell reselection, comprising:
                                                      obtaining, by a terminal, a dedicated priority list and a valid time of
                                   9                      the dedicated priority list from a Long Term Evolution (LTE)
                                                          system; and
                                  10                  performing, by the terminal, cell reselection according to the
                                                          dedicated priority list and the valid time of the dedicated
                                  11                      priority list, when the terminal camps on a cell of a non-LTE
                                                          system;
                                  12                  wherein, when the terminal camps on a cell of the non-LTE system,
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                                                          the performing cell reselection according to the dedicated
                                  13                      priority list and the valid time comprises:
                                                          performing, by the terminal camping on the cell of the non-LTE
                                  14                          system, cell reselection according to the dedicated priority
                                                              list before the valid time expires, wherein when the terminal
                                  15                          camps on the cell of the non-LTE system, the dedicated
                                                              priority list is invalid after the valid time expires.
                                  16
                                       ‘197 patent at 11:51–67 (emphasis added to highlight term).
                                  17
                                              Huawei insists that this term need not be construed or, alternatively, proposes “priority list
                                  18
                                       for the specific terminal,” whereas Samsung proposes “dedicated list that includes different Radio
                                  19
                                       Access Technologies listed in order of priority.” Huawei Op. Br. at 17; Samsung’s Resp. Br. at
                                  20
                                       19. Samsung urges that the claimed “dedicated priority list” must include different Radio Access
                                  21
                                       Technologies (“RATs”) (and, by implication, may not include only a single RAT), and that the
                                  22
                                       different RATs must be listed in order of priority. Samsung’s Responsive Br. at 21. It points to
                                  23
                                       the ’197 family specifications to argue that all disclosed embodiments of the “dedicated priority
                                  24
                                       list” include different RATs listed in order of priority.
                                  25
                                                      1.      Claim Term Need Not Be Limited to “Different Radio Access
                                  26                          Technologies”
                                  27          The dependent claims, the specification, and the prosecution history all support Huawei’s

                                  28   position that a “dedicated priority list” may include different frequencies, which is not necessarily
                                                                                          15
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                                   1   equivalent to different RATs. See, e.g., ‘197 patent, claim 6 (defining dependent claim “wherein

                                   2   the dedicated priority list comprises one of the following[,]” and listing multiple options, including

                                   3   frequency or Radio Access Technology); ‘197 patent at 3:52–59 (“A priority in the priority list

                                   4   may refer to the priority level of a frequency or a Radio Access Technology (RAT). It may also

                                   5   refer to the priority level of a Frequency Band in GERAN... .”); ‘197 patent, Claim 6, prosecution

                                   6   history dated 2/14/12 “Amendment/Request for Reconsideration after Non-Final Rejection” (Ex.

                                   7   F)(amending claim language to allow non-RAT priority levels to overcome a section 103(a)

                                   8   rejection).

                                   9           Samsung proffers several unconvincing reasons to reject Huawei’s position. First, it parses

                                  10   through particular claim language to differentiate between language that was part of the priority

                                  11   application and subsequently added language (and subject matter) that cannot be used to support

                                  12   Huawei’s position. Samsung’s Resp. Br. at 23. But the language highlighted by Huawei was
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                                  13   included in the original application, see Dkt. No. 150, Ex. 2 at 32; see also ‘197 patent file

                                  14   wrapper, 2010-10-12 specification (Ex. P), so Samsung’s argument falls short.

                                  15           Second, Samsung suggests that the principle of claim differentiation should not apply here

                                  16   because it is “not a hard and fast rule,” Samsung’s Response Br. at 24 (quoting GPNE Corp. v.

                                  17   Apple Inc., 830 F.3d 1365, 1370 (Fed. Cir. 2016), and “the language of [dependent] claim 8 was

                                  18   added years after the priority application of the ‘197 Family.”9 Id. But, as Huawei notes, the

                                  19   substance of this claim was disclosed in the specification of the ‘197 patent’s original application

                                  20   and there is no indication that “the motive for creating the dependent claim appeared to be

                                  21   litigation driven.” See Thermapure, Inc. v. RxHeat, LLC, No. 10 C 8157, 2015 WL 110075, at *6

                                  22   (N.D. Ill. Jan. 7, 2015)(discussing the rationale behind ICU Medical, Inc. v. Alaris Medical

                                  23   Systems, Inc., 558 F.3d 1368 (Fed. Cir. 2009)), in which the court rejected the doctrine of claim

                                  24   differentiation when a dependent claim was added during prosecution and after the “introduction

                                  25   of the allegedly infringing products.”). Samsung offers no compelling reason for rejecting the

                                  26
                                  27   9
                                        Dependent claim 8 of the ’246 patent provides, “The method of claim 1, wherein the dedicated
                                  28   priority list comprises priority information of frequencies of the different RATs.” ’246 patent at
                                       12:18–20 (Dkt. No. 141-14).
                                                                                          16
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                                   1   principle of claim differentiation here.

                                   2          Third, it asserts that “the priority level of a frequency ... describes one way that different

                                   3   RATs in a dedicated priority list may prioritize the different RATs according to these frequencies

                                   4   or according to the RAT type.” Samsung Responsive Br. at 24. But it fails to identify intrinsic or

                                   5   extrinsic evidence supporting its position. This is the basic disagreement regarding this term—

                                   6   Huawei contends that “a dedicated priority list may contain the priority information of things

                                   7   besides RATs, such as frequencies or frequency bands[,]” Reply at 11, whereas Samsung insists

                                   8   that it is all the same. But (as evidenced by this dispute) they are not the same, and nothing in the

                                   9   ’197 patent requires a dedicated priority list to contain different RATs. Accepting Samsung’s

                                  10   position without foundation would ignore the clear language of the claims, which repeatedly

                                  11   indicates that a dedicated priority list may refer to the priority level of a frequency or a RAT.

                                  12   Samsung’s construction would unjustifiably limit the claims.
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                                  13                  2.      Contents of Dedicated Priority List Need Not Be “Listed in order of
                                                              Priority”
                                  14
                                              Samsung argues that “[e]very embodiment of the dedicated priority list includes multiple
                                  15
                                       different RATs listed in order of priority.” Samsung’s Responsive Br. at 21–22. It contends that
                                  16
                                       Huawei impermissibly relies on extrinsic evidence (a 3GPP technical specification) to argue that
                                  17
                                       the priorities can be assigned an integer rather than listed in order of priority.10 Id. at 25. Huawei
                                  18
                                       counters that the “embodiment[s] ... never limit[] what the dedicated priority list must look like.”
                                  19
                                       Huawei Reply at 12. I agree with Huawei.
                                  20
                                              The ’197 patent specification states that “[t]he dedicated priority list delivered in dedicated
                                  21
                                       signaling of the LTE system may indicate that GERAN>UMTS>LTE.” ’197 patent at 4:14–16
                                  22
                                       (emphasis added); see also id. at 4:26–27; id. at 6:6–9; id. at 7:13–15; id. at 8:26–27; id. at 9:39–
                                  23
                                       41. That a dedicated priority list “may indicate that GERAN>UMTS>LTE” does not mean that
                                  24
                                       the dedicated priority list appears as “GERAN>UMTS>LTE.” The use of “indicates” throughout
                                  25

                                  26
                                       10
                                  27     The 3GPP technical standard cited by Huawei was cited by Samsung in the Joint Claim
                                       Construction Statement as extrinsic evidence supporting its proposed construction. Dkt. No. 124-
                                  28   2 at 63–64).

                                                                                         17
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                                   1   the specification supports Huawei’s position that the priority may be designated by some other

                                   2   means, such as by integers ranging from 0 to 7, rather than listed in order of priority. To conclude

                                   3   that the dedicated priority list must be listed in order of priority would entail two critical

                                   4   missteps—misinterpreting language in the specification (“may indicate”), and then improperly

                                   5   importing that misinterpreted limitation into the claims. I can do neither. See Vitronics, 90 F.3d at

                                   6   1582.

                                   7            The parties appear to agree that a “dedicated priority list” is a “priority list for the specific

                                   8   terminal.” And they both reference the use of the term in the prior art. Huawei’s Opening Br. at

                                   9   18; Samsung’s Responsive Br. at 20 (acknowledging the difference between a dedicated and

                                  10   public priority list as understood in the prior art); Huawei’s Reply at 10. Nevertheless, because

                                  11   Samsung disputed the scope of this term, I find that it is necessary to construe it and adopt

                                  12   Huawei’s alternative proposed construction.
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                                  13   II.      SAMSUNG’S SELECTED CLAIM TERMS
                                  14            A.      “a middle symbol in the slot” (‘130 patent, claims 9, 13)
                                                    SAMSUNG’S                HUAWEI’S MODIFIED                     COURT’S
                                  15                 PROPOSAL                      PROPOSAL                     CONSTRUCTION
                                  16         No construction necessary.     “symbol(s) in the slot with   No construction necessary.
                                                                            the same number of
                                  17                                        symbols on each
                                                                            side
                                  18
                                  19
                                                The ‘130 patent aims to increase reception reliability by allocating resources in a sub-
                                  20
                                       frame for the transmission of control bits11 and data bits from a base station (also called “Node B”)
                                  21
                                       to a user equipment (downlink signal). ’130 Patent, Abstract (Dkt. No. 140-1 at 6). The
                                  22
                                       information is sent using symbols, which are arranged into frames, sub-frames, and slots. Id. LTE
                                  23
                                       systems use a “reference signal” (RS”) to estimate the distortion of the transmission and ultimately
                                  24
                                       restore signal quality. According to the patent, symbols closer to the RS suffer less degradation
                                  25
                                       than those at positions farther away. ‘130 patent at 4:40–47. Because the acknowledgement
                                  26
                                  27
                                       11
                                  28     Control information bits include positive acknowledgement bits (ACK), negative
                                       acknowledgement bits (NAK), and channel quality indicator bits (CQI). ‘130 patent at 1:36–38.
                                                                                       18
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                                   1   information (ACK/NAK bits) has strict performance requirements, the ‘130 patent teaches that it

                                   2   should be transmitted at symbols directly adjacent to the RS.

                                   3             Exemplary claim 9 provides:
                                                       An apparatus for transmitting a signal in a slot of a subframe in a
                                   4                   wireless communication system, the signal including data
                                                       information and acknowledgement information, the apparatus
                                   5                   comprising:
                                                       a mapper for mapping a reference signal to a middle symbol in the
                                   6                     slot, mapping the data information to remaining symbols in the
                                                         slot that are not used to map the reference signal, and mapping the
                                   7                     acknowledgement information to first symbols among the
                                                         remaining symbols in the slot, the first symbols not being used to
                                   8                     map reference signals and the first symbols being directly adjacent
                                                         to the middle symbol; and
                                   9                   a transmitter for transmitting the signal including the mapped data
                                                         information, the mapped acknowledgement information, and the
                                  10                     mapped reference signal,
                                                       wherein some of the data information is mapped to the first symbols
                                  11                     which are directly adjacent to the middle symbol, and
                                                       wherein CQI information is multiplexed with the data information.
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                                       ‘130 patent at 7:53–8:14.
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                                  13
                                                 Samsung insists that no construction is necessary for the term “a middle symbol in the
                                  14
                                       slot,” while Huawei seeks to define the term as, “symbol(s) with the same number of symbols on
                                  15
                                       each side.”12 Samsung Op. Br. at 4 (Dkt. No. 140); Huawei’s Resp. Br. at 4 (Dkt. No. 149).
                                  16
                                       Samsung argues that these terms intend their ordinary meaning as understood by those skilled in
                                  17
                                       the art, while Huawei’s proposed construction introduces unnecessary confusion and “seeks to
                                  18
                                       redefine ‘middle’ to mean less than its ordinary meaning.” Samsung’s Op. Br. at 5. It takes
                                  19
                                       particular issue with the example of a slot with an even number of symbols, in which case the
                                  20
                                       “middle symbol in the slot” cannot have “the same number of symbols on each side.” Id.
                                  21
                                                 Huawei responds by asserting that “a middle symbol” will consist of two symbols when
                                  22
                                       there are an even number of symbols, and its construction still clarifies that there will be the same
                                  23
                                       number of symbols on each side. Huawei’s Resp. Br. at 4–5. According to Huawei, the parties
                                  24
                                       appear to agree on the scope of the term and how to identify the middle symbols, but disagree on
                                  25
                                       “how (and whether) to express that sentiment in a claim construction.”13 Id. at 5.
                                  26
                                  27   12
                                            In response, it modified its proposal to insert “in the slot.” Huawei’s Resp. Br. at 5.
                                  28   13
                                            Samsung acknowledges that the “RS is thus equidistant from the beginning and the end of the
                                                                                       19
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                                   1             I agree with Huawei that the parties appear aligned regarding the scope of this term, but I

                                   2   disagree with its conclusion that I should nonetheless construe this term to aid the jury in

                                   3   understanding the scope. A jury is capable of understanding this term and Huawei’s proposed

                                   4   construction fails to clarify any potential confusion. Because there is no actual dispute regarding

                                   5   this term, I find that it need not be construed and the plain and ordinary meaning controls.

                                   6

                                   7             B.    “[calculating/calculates] a HARQ process Identifier using the number of
                                                       HARQ processes of the persistent resource allocation, the persistent resource
                                   8                   allocation interval information, and time information” (‘726 patent, claims 1,
                                                       11)
                                   9                SAMSUNG’S                         HUAWEI’S                    COURT’S
                                                     PROPOSAL                         PROPOSAL                CONSTRUCTION
                                  10
                                             No construction necessary.       calculating a HARQ         No construction necessary.
                                  11                                          process ID using Equation
                                                                              3: persistent resource-
                                  12                                          dedicated
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                                                                              HARQ process’s
                                  13                                          index=MOD[s,n],
                                  14                                          s=ceiling[t/i,1]

                                  15
                                                 The ‘726 patent relates to a technique for providing Voice over Internet Protocol (VoIP),
                                  16
                                       where a person’s voice is converted into small data packets that are transmitted over the network
                                  17
                                       using persistent resource allocation. ’726 patent at 1:38–42 (Dkt. No. 140-1 at 23). A UE uses
                                  18
                                       Hybrid Automatic Repeat request (HARQ) processes to check for and cure errors detected in the
                                  19
                                       transmission. Id. at 1:62–65; id. at 2:4–15. Each HARQ process corresponds to a specific packet.
                                  20
                                       When a UE receives multiple HARQs and packets in the same interval, it must determine which
                                  21
                                       HARQ matches with which packet. The ‘726 patent states that a persistent resource-dedicated
                                  22
                                       HARQ process identifier (ID) can be expressed as a function of (1) the number of HARQ
                                  23
                                       processes; (2) the length of the interval; and (3) the time the interval began.14 Id. at 3:13–24;
                                  24
                                       4:58–5:2. It then provides an example of calculating the HARQ process index using equation 3:
                                  25

                                  26
                                  27   slot[,]” Samsung Op. Br. at 4, but disputes that the parties agree on the scope of this term. Reply
                                       at 2.
                                  28   14
                                            It refers to this relationship at equation 2. ‘726 patent at 8:60–9:3.
                                                                                             20
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                                                      persistent resource-dedicated HARQ process's index=MOD[s,n],
                                   1
                                                      s-ceiling[t/i,1],
                                   2
                                                      [where] i denotes a persistent resource allocation interval expressed
                                   3                  in units of 10 msec, n denotes the number of persistent resource-
                                                      dedicated HARQ processes, and t denotes time information of the
                                   4                  timing at which persistent resources are allocated.
                                   5   ‘726 patent at 9:10–18.

                                   6          Exemplary claim 1 provides,
                                                    A method for operating Hybrid Automatic Repeat reQuest (HARQ)
                                   7                in a mobile communication system, the method comprising:
                                                    receiving a number of HARQ processes of a persistent resource
                                   8                  allocation and persistent resource allocation interval information;
                                                    receiving data according to the persistent resource allocation interval
                                   9                  information;
                                                    calculating a HARQ process IDentifier (ID) using the number of
                                  10                  HARQ processes of the persistent resource allocation, the
                                                      persistent resource allocation interval information, and time
                                  11                  information; and
                                                    associating a HARQ process with the calculated HARQ process ID.
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                                       Id. at 18:2–16 (emphasis added to claim term).
 United States District Court




                                  13
                                              Huawei contends that the “calculating” step must be limited to equation 3 disclosed in the
                                  14
                                       second embodiment because it is the only embodiment that includes “calculating” a HARQ ID,
                                  15
                                       and the claim would not otherwise enable one skilled in the art to practice the invention. Huawei’s
                                  16
                                       Resp. Br. at 7–8 (citing Fuja Decl.).15 To the extent that it is not limited, Huawei argues that the
                                  17
                                       claim must be invalid because it “provide[s] no more than a black box calculation with inputs and
                                  18
                                       outputs.” Id. at 9.
                                  19
                                              Samsung counters that Huawei’s proposed construction attempts to impermissibly limit the
                                  20
                                       method of calculating the HARQ process ID to the disclosed embodiment contained in equation 3.
                                  21
                                       Samsung’s Op. Br. at 9–10. It insists that the claim does not impose such a limitation and to do so
                                  22
                                       would impermissibly import a limitation from the specification into the claims. Id. at 10 (citing E-
                                  23
                                       Pass Techs., Inc. v. Com Corp., 343 F.3d 1364, 1369 (Fed. Cir. 2003)). It also points to dependent
                                  24
                                       claim 4, which reads “The method of claim 1, wherein the HARQ process ID is calculated using:
                                  25
                                       HARQ process ID=s modulo n, where s is an integer derived from t/i, wherein t represents the
                                  26
                                  27   15
                                         Samsung objects to Huawei’s proffered expert declaration because it was not disclosed in the
                                  28   parties’ joint claim construction statement. See Joint Claim Construction St., Ex. C at 53 (Dkt.
                                       No. 124-3). I do not rely on it here.
                                                                                        21
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                                   1   time information, i represents the persistent resource allocation interval information, and n

                                   2   represents the number of HARQ processes of the persistent resource allocation.” ‘726 patent at

                                   3   18:22–31. As Samsung highlights, claim 4’s equation is broader than equation 3, so accepting

                                   4   Huawei’s proposal would render dependent claim 4 broader than independent claim 1. But, “[a]n

                                   5   independent claim impliedly embraces more subject matter than its narrower dependent claim.”

                                   6   Intamin Ltd. v. Magnetar Techs., Corp., 483 F.3d 1328, 1335 (Fed. Cir. 2007).

                                   7           I agree with Samsung. Nothing in the claim language requires the calculating step to be

                                   8   limited to equation 3, and to import such a limitation would improperly limit the claims to the

                                   9   specification and ignore the principle of claim differentiation. See Vitronics, 90 F.3d at 1582

                                  10   (‘[P]articular embodiments appearing in a specification will not be read into the claims when the

                                  11   claim language is broader than such embodiments.”); Phillips, 415 F.3d at 1315 (“[T]he presence

                                  12   of a dependent claim that adds a particular limitation gives rise to a presumption that the limitation
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                                  13   in question is not present in the independent claim.”). To the extent that the claim does not enable

                                  14   one skilled in the art to practice the patent because the “calculating” step is not sufficiently

                                  15   defined, Huawei must reserve that argument for a later time.

                                  16
                                               C.       “predetermined delay duration” (‘825 Patent, claims 1, 4)
                                  17                SAMSUNG’S                      HUAWEI’S                       COURT’S
                                                     PROPOSAL                      PROPOSAL                  CONSTRUCTION
                                  18
                                            No construction necessary.     Delay duration provided by Determined beforehand.
                                  19                                       base station.
                                            Alternatively, “determined
                                  20        beforehand.”16
                                  21

                                  22           The ‘825 patent provides a method for a user equipment to communicate with a base

                                  23   station (Node B) on a shared channel (SCH), which is a channel used by multiple UEs

                                  24   communicating with the same base station. ’825 patent, Abstract; id. at 1:53–56 (Dkt. No. 140-1

                                  25   at 47). The Node B must be able to differentiate UEs to ensure that data packets are sent to their

                                  26   intended recipient. The ‘825 patent discloses a method for UEs to select a temporary ID from a
                                  27
                                       16
                                  28     Samsung offered this alternative construction in its Reply. Samsung Reply at 5 n.2 (Dkt. No.
                                       156).
                                                                                       22
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                                   1   pool when initiating communications with a base station. Sometimes, two UEs may select the

                                   2   same short ID at the same time and a “collision” occurs. Id. at 2:14–39; id. at 6:47–49. The ‘825

                                   3   patent addresses this potential problem by developing a monitoring technique in which a UE waits

                                   4   a “predetermined delay duration” prior to monitoring for a downlink signal, so that a first UE has

                                   5   time to receive its short ID before a second UE may intercept it. Id. at 3:33–45; id. at 6:34–39; id.

                                   6   at 6:65–7:7.

                                   7          Claim 1 provides,
                                                     A method for performing random access in a user equipment (UE)
                                   8                 of a mobile communication system, the method comprising:
                                   9                  receiving system information indicating a group of identification
                                                        (ID)s;
                                  10                  selecting an [sic] first ID from among the group of the IDs;
                                                      transmitting a first uplink signal corresponding to the selected first
                                  11                    ID for random access to a Node B;
                                                      after the transmitting of the first uplink signal, waiting for a
                                  12                    predetermined delay duration without checking a downlink
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                                                        channel;
                                  13                  after the waiting for the predetermined delay duration, checking the
                                                        downlink channel during a valid period;
                                  14                  determining whether a downlink signal responding to the first uplink
                                                        signal is received in the valid period, the downlink signal
                                  15                    comprising a second ID and an UE-ID; and
                                                      transmitting a second uplink signal using the UE-ID, if the downlink
                                  16                    signal is received during the valid period and the second ID is
                                                        equal to the first ID, wherein the valid period starts when the
                                  17                    predetermined delay duration starting from transmission of the
                                                        first uplink signal has terminated.
                                  18
                                       ‘825 patent at 11:39–62 (emphasis added to claim term).
                                  19
                                              Huawei proposes that this term be construed to mean the “delay duration provided by base
                                  20
                                       station.” Huawei’s Resp. Br. at 11. It highlights language in the specification indicating that
                                  21
                                       “[t]he T [delay duration] and P [valid period] values are included in the system information to be
                                  22
                                       transmitted on the cell-by-cell basis and are provided to UEs.” ‘825 patent at 7:5–7; see also id. at
                                  23
                                       8:50–53; 7:14–16; Figs. 6, 7. And it insists that the “‘predetermined delay duration’ must be
                                  24
                                       provided by the base station in order for the claimed invention to function.” Huawei’s Resp. Br. at
                                  25
                                       11 (emphasis added).
                                  26
                                              Samsung counters that the term imposes a temporal limitation (decided at an earlier time)
                                  27
                                       but no spatial limitation, and the plain and ordinary meaning should apply. Samsung’s Op. Br. at
                                  28
                                                                                        23
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                                   1   14. It also insists that the claims should not be limited to exemplary embodiments and the claim

                                   2   language nowhere requires that the information must come from the base station. Reply at 5–6.

                                   3          It is improper to import limitations from preferred embodiments into the claims “absent a

                                   4   clear indication in the intrinsic record that the patentee intended the claims to be so limited.”

                                   5   Liebel-Flarsheim Co. v. Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004). I must balance that

                                   6   rule against the edict that “[t]he construction that stays true to the claim language and most

                                   7   naturally aligns with the patent’s description of the invention will be, in the end, the correct

                                   8   construction.” Phillips, 415 F.3d at 1316. Huawei contends that the specification “describes a

                                   9   single way of predetermining the delay duration that is necessary in order for the invention to

                                  10   work[,]” Huawei’s Resp. Br. at 13, and it cites to Toro Co. v. White Consolidated Industries, Inc.,

                                  11   to support its position that there is no impermissible “limitation” when the written description does

                                  12   not support a broader reading of the claims, see 199 F.3d 1295, 1301 (Fed. Cir. 1999).
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                                  13          Samsung responds that Toro is distinguishable because (1) the Toro specification

                                  14   specifically referred to the “present invention,” not to an embodiment, and (2) the “dictionary

                                  15   definitions … [did] not shed dispositive light on [the correct construction].” Samsung Reply at 5–

                                  16   7. It points to later cases that distinguish Toro when “there is no such statement of importance

                                  17   present in the specification.” Altiris, Inc. v. Symantec Corp., 318 F.3d 1363, 1373 (Fed. Cir.

                                  18   2003). And it insists that “[t]he ’825 Patent nowhere precludes the UE defining the predetermined

                                  19   delay duration and sending it to the base station, or both the UE and the base station being

                                  20   programmed in advance with the same delay duration, or some third source defining a

                                  21   predetermined delay duration and sending it to the UE and the base station, each of which would

                                  22   render the claimed invention ‘operable.’” Samsung Reply at 6 (emphasis added).

                                  23          Samsung is right, but it is also the case that the ’825 patent nowhere discusses

                                  24   predetermining the delay duration in any of the manners hypothesized by Samsung. It is unclear

                                  25   where the patent points to the delay duration being provided by anything other than a base station.

                                  26   All that said, to avoid importing limitations from the specification into the claims I will accept

                                  27   Samsung’s proposed construction that the “predetermined delay duration” means “determined

                                  28   beforehand.”
                                                                                         24
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                                              D.     “a set of control channel candidates” (‘195 patent, claims 9, 25)
                                   1              SAMSUNG’S                         HUAWEI’S                      COURT’S
                                                   PROPOSAL                        PROPOSAL                  CONSTRUCTION
                                   2
                                           No construction necessary.      all available control        No construction necessary.
                                   3                                       channels transmittable by a
                                                                           base station
                                   4

                                   5
                                              The ‘195 patent is directed towards a method and apparatus for transmitting and receiving
                                   6
                                       a set of control channels in an Orthogonal Frequency Division Multiple Access (OFDMA) system.
                                   7
                                       l’195 Patent, Abstract (Dkt. No. 140-1 at 71). It aims to simplify a structure of the terminal by
                                   8
                                       restricting the number of control channels being monitored, thereby reducing battery consumption.
                                   9
                                       ‘195 patent at 4:46–58.
                                  10
                                              Claim 9 provides,
                                  11                 A method for receiving control information in a terminal for a
                                                     wireless communication system, the method comprising:
                                  12                 receiving, from a base station, information associated with a number
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                                                       of Orthogonal Frequency Division Multiplexing (OFDM) symbols
                                  13                   carrying control channels;
                                                     determining a set of control channel candidates based on an
                                  14                   IDentifier (ID) of the terminal, wherein each control channel
                                                       candidate included in the set of control channel candidates consists
                                  15                   of one of one, two, four, and eight control channel elements
                                                       (CCEs) existing in the OFDM symbols; and
                                  16                 monitoring at least one control channel candidate belonging to the
                                                       set of control channel candidates to receive the control
                                  17                   information.
                                  18   Id. at 13:41–55 (emphasis added to highlight term). Huawei proffers that “a set of control channel

                                  19   candidates” means “all available control channels transmittable by a base station,” which is

                                  20   different from the “monitoring set,” which is a subset of the “control channel candidate set.”

                                  21   Huawei Resp. Br. at 14–15. It points to figures 5A and 5B in the specification for support. Id.

                                  22   But it also acknowledges the aim of the invention to restrict a “set of control channels.” Id. at 16;

                                  23   see also ’195 patent at 4:47–49 (“The present invention restricts a set of control channels being

                                  24   monitored by a terminal among all available control channels transmittable by a base station… .”).

                                  25          The Federal Circuit has “caution[ed] that claim language must be construed in the context

                                  26   of the claim in which it appears.” IGT v. Bally Gaming Int'l, Inc., 659 F.3d 1109, 1117 (Fed. Cir.

                                  27   2011). Accepting Huawei’s proposal would ignore the surrounding claim language, which

                                  28   indicates that “a set of control channel candidates” is determined based on a terminal ID. This
                                                                                        25
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                                   1   determination implies that “a set” is something less than “all.” It would also construe the claim in

                                   2   a way that is “inconsistent with the clear language of the specification.” ERBE Elektromedizin

                                   3   GmbH v. Int'l Trade Comm'n, 566 F.3d 1028, 1034 (Fed. Cir. 2009). Moreover, it would exclude

                                   4   disclosed embodiments, which indicate that the UE monitors a set of control channel candidates

                                   5   smaller than all control channel candidates. “[A]n interpretation [reading out preferred

                                   6   embodiments] is rarely, if ever, correct and would require highly persuasive evidentiary

                                   7   support[.]” Vitronics, 90 F.3d at 1583. Given the erroneous consequences of accepting Huawei’s

                                   8   proposal, I do not find it necessary to construe this term.

                                   9          E.      “controlling an active time period during a [DRX] operation” (‘588 patent,
                                                     preambles of claims 1 and 7)
                                  10              SAMSUNG’S                        HUAWEI’S                     COURT’S
                                                   PROPOSAL                       PROPOSAL                 CONSTRUCTION
                                  11
                                           No construction necessary.      Indefinite.                No construction necessary.
                                  12
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                                                                              Alternatively, “monitoring
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                                  13                                          control data on a shared
                                                                              control channel during
                                  14                                          a DRX operation only
                                  15                                          between the start of a first
                                                                              timer and the expiration of
                                  16                                          a second timer.”

                                  17

                                  18          The ‘588 patent provides a mechanism for UEs in LTE systems to receive data packets

                                  19   from the Node B during a Discontinuous Reception (DRX) operation. ’588 Patent, Abstract (Dkt.

                                  20   No. 140-1 at 92). In legacy systems, “a UE wakes up at a predetermined time, monitors a

                                  21   predetermined channel for a predetermined time period, and then enters again into a sleep mode in

                                  22   an idle state.” ‘588 patent at 2:23–25. This process is referred to as DRX, “which is a way to

                                  23   lengthening [sic] the waiting time of the idle-state UE.” Id. at 2:26–28. The conventional method

                                  24   was not feasible for a connected UE in an LTE system, so the inventors sought to adapt DRX

                                  25   operation to the LTE network. Id. at 3:1–9.

                                  26          Claim 7 provides,
                                                     An apparatus for controlling an active time period during a
                                  27                 Discontinuous Reception (DRX) operation in a User Equipment
                                                     (UE) in a mobile communication system, comprising:
                                  28
                                                                                         26
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                                                         a DRX controller for starting, in the UE, a first timer to monitor
                                   1                       control data via a shared control channel, the control data being
                                                           associated with user data to be transmitted, and for starting, in the
                                   2                       UE, a second timer, when control data indicating a new
                                                           transmission of associated user data is received via the shared
                                   3                       control channel while the first timer is running, or for restarting, in
                                                           the UE, the second timer, when the control data indicating a new
                                   4                       transmission of associated user data is received via the shared
                                                           control channel while the second timer is running.
                                   5
                                       Id. at 13:51–64 (emphasis added to term).
                                   6
                                              Huawei contends that the preamble is limiting because it was used during prosecution
                                   7
                                       history to overcome prior art and it is indefinite for failing to identify the alleged invention for
                                   8
                                       “controlling an active time period.” Huawei Resp. Br. at 21–22. It alternatively proposes
                                   9
                                       construing the term as “monitoring control data on a shared control channel during a DRX
                                  10
                                       operation only between the start of a first time and the expiration of a second timer.” Id. Samsung
                                  11
                                       insists that one skilled in the art would understand this term with reasonable certainty and the
                                  12
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                                       preamble language “merely states the intended purpose or use of the invention[,]” the “body of
 United States District Court




                                  13
                                       each claim recites a complete invention[,]” so the preamble should not be limiting. Samsung Op.
                                  14
                                       Br. at 22-23. It points to language in the specification, particular embodiments, and an expert
                                  15
                                       declaration to suggest that an “active period” cannot be so limited as Huawei insists because a UE
                                  16
                                       may remain active after the second timer expires. See Reply at 14–15 (citing embodiment 4 and
                                  17
                                       Valenti Decl.).
                                  18
                                              “Generally, a preamble is not limiting.” Summit 6, LLC v. Samsung Elecs. Co., 802 F.3d
                                  19
                                       1283, 1292 (Fed. Cir. 2015). But it may “limit[] the invention if it recites essential structure or
                                  20
                                       steps, or if it is necessary to give life, meaning, and vitality to the claim.” Catalina Mktg. Int'l,
                                  21
                                       Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002)(internal quotation marks
                                  22
                                       omitted); see also Pacing Techs., LLC v. Garmin Int'l, Inc., 778 F.3d 1021, 1023–24 (Fed. Cir.
                                  23
                                       2015). Huawei argues that the preamble is limiting because it was used during prosecution to
                                  24
                                       overcome prior art. Huawei Resp. Br. at 21. “[C]lear reliance on the preamble during prosecution
                                  25
                                       to distinguish the claimed invention from the prior art transforms the preamble into a claim
                                  26
                                       limitation because such reliance indicates use of the preamble to define, in part, the claimed
                                  27
                                       invention.” Catalina Mktg., 289 F.3d at 808. But on the other hand, “preamble language merely
                                  28
                                                                                            27
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                                   1   extolling benefits or features of the claimed invention does not limit the claim scope without clear

                                   2   reliance on those benefits or features as patentably significant.” Id. at 809. The prosecution

                                   3   history indicates that independent claims 23 and 29 of the ’032 application17 were rejected as

                                   4   anticipated by the prior art, and “objected to for allegedly being directed to performing a DRX

                                   5   operation, but not reciting any limitations related to a DRX operation.” 5/3/12 Response to Office

                                   6   Action in U.S. Patent Application No. 11/729,032 (Gray Decl. ¶ 13, Ex. 11, Dkt. No. 140-1 at

                                   7   285).

                                   8             The applicants disagreed with the objections “since both Claims 23 and 29 recite[] steps

                                   9   that occur during a DRX operation,” but nonetheless amended to add the preamble language

                                  10   “controlling an active time period during” to “further clarify that the controlling of the active time

                                  11   period is part of the DRX operation.” Id. The applicants then proceeded to distinguish the prior

                                  12   art:
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                                                        Ohta fails to teach or suggest starting, in the UE, a first timer to
                                  13                    monitor control data via a shared control channel, the control data
                                                        indicating a transmission of associated user data, and starting or
                                  14                    restarting, in the UE, a second timer to monitor the control data,
                                                        when the control data indicating a new transmission of associated
                                  15                    user data is received via the shared control channel during the active
                                                        time period, as recited in independent claims 23 and 29.
                                  16
                                       Id. (emphasis in original)(Dkt. No. 140-1 at 289).
                                  17
                                                 As evidenced by this explanation, the applicants focused on the claim language and scope
                                  18
                                       to overcome the prior art, not the addition of “controlling an active time period.” They clearly did
                                  19
                                       not find the amendment “patentably significant,” Catalina Mktg., 289 F.3d at 809, because they
                                  20
                                       disagreed with the examiner and referred to the addition as providing “further clarif[ication].” The
                                  21
                                       Notice of Allowability confirms this conclusion. See Notice of Allowability (“The prior art of
                                  22
                                       record does not disclose, teach or suggest directly, or indirectly the following limitations [reciting
                                  23
                                       claims 23 and 29].”)(Malmberg Decl. ¶ 3, Ex. 2, Dkt. No. 156-3). This is therefore not a scenario
                                  24
                                       where the applicant amended to add a preamble specifically to “distinguish the claimed invention
                                  25
                                       from the prior art[.]” Invitrogen Corp. v. Biocrest Mfg., L.P., 327 F.3d 1364, 1370 (Fed. Cir.
                                  26
                                  27
                                       17
                                  28        The ’588 patent claims priority to U.S. Patent App. No. 11/729,032.

                                                                                         28
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                                   1   2003); Cf. id. (“[T]he applicants clearly relied on the preamble term … to distinguish [prior art].”).

                                   2   Rather, there was no such reliance here. The preamble language was added to provide clarity, not

                                   3   to limit the scope and overcome prior art.

                                   4          The scope of the invention—“performing a DRX operation using a variable active period

                                   5   in a connected terminal”—is fully contained in the claims and the preamble merely states the

                                   6   intended use of the claims. ’588 patent at 1:23–25 (background of the invention); id. at 13:21–34

                                   7   (claim 1); id. at 13:51–64 (claim 7). “[U]se descriptions such as this are rarely treated as claim

                                   8   limitations.” Marrin v. Griffin, 599 F.3d 1290, 1294 (Fed. Cir. 2010). Accordingly, the

                                   9   preambles to claims 1 and 7 are non-limiting because they are not “essential to understand

                                  10   limitations or terms in the claim body[,]” Catalina Mktg., 289 F.3d at 808, and because the bodies

                                  11   of claims 1 and 7 recite “structurally complete invention[s].” Rowe v. Dror, 112 F.3d 473 (Fed.

                                  12   Cir. 1997).
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                                  13                                             CONCLUSION

                                  14          In sum, the terms are construed as follows:

                                  15                  HUAWEI PATENTS
                                                                               ’848 Patent, claim 9
                                  16
                                       “A method for security capability negotiation       Preamble is limiting
                                  17   during idle state mobility of a user equipment
                                       (UE), in a situation where the UE moves from a
                                  18   non-long term evolution (non-LTE) network to
                                       a long term evolution (LTE) network, the
                                  19   method comprising:”
                                                                            ‘278 Patent, claims 1 and 7
                                  20
                                       “[wherein the field is] dynamically indicative of “variably indicating between (1) payload size
                                  21   one of payload size or a redundancy version         and (2) a Redundancy Version (RV) [based on
                                       (RV) [through the state of the field]”              the values of all the N bits of the field]”;
                                  22                                                       this language does not exclude a default value
                                                                                           for the RV when the field indicates payload size
                                  23                                       ‘239 Patent, claims 6 and 17
                                  24   “a group number k of a sequence group               “a group number k allocated by the system,
                                       allocated by the system”                            where the group number k identifies a sequence
                                  25                                                       group and where the value k is the same
                                                                                           throughout the claim.”
                                  26                                        ‘613 Patent, claims 1 and 5
                                       “receiving by a user equipment (UE), a service No construction necessary.
                                  27
                                       sent by a base station”/”receive a service sent
                                  28   by a base station”

                                                                                        29
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                                                                          ‘166 Patent, claims 1 and 12
                                   1
                                       “a first P-temporary Mobile Station Identity (P- “a P-temporary Mobile Station Identity (P-
                                   2   TMSI) in an access message”                        TMSI) field in an access message”
                                          ‘197 Patent, claims 1, 5, 7–9, 14, 15; ‘246 Patent, claims 1, 2, 6–8, 10–12, 16–18, 20; ‘003
                                   3                                  Patent, claims 1–4, 7–9, 12, 14–20
                                       “dedicated priority list”                          “Priority List for the specific terminal”
                                   4

                                   5                     SAMSUNG PATENTS
                                                                              ‘130 patent, claims 9, 13
                                   6   “a middle symbol in the slot”                        No construction necessary.
                                                                              ‘726 patent, claims 1, 11
                                   7   “[calculating/calculates] a HARQ process             No construction necessary.
                                       Identifier using the number of HARQ processes
                                   8
                                       of the persistent resource allocation, the
                                   9   persistent resource allocation interval
                                       information, and time information”
                                  10                                           ‘825 Patent, claims 1, 4
                                       “predetermined delay duration”                       “Determined beforehand.”
                                  11                                          ‘195 patent, claims 9, 25
                                  12   “a set of control channel candidates”                No construction necessary.
Northern District of California




                                                                     ‘588 patent, preambles of claims 1 and 7
 United States District Court




                                  13   “controlling an active time period during a          No construction necessary.
                                       [DRX] operation”
                                  14

                                  15
                                              In accordance with the Order re Case Mgmt Proposals, (Dkt. No. 143), the parties will
                                  16
                                       narrow the patent claims to 22 per side, with no more than 22 accused products per side, by
                                  17
                                       September 11, 2017.
                                  18
                                              A Case Management Conference is set for September 26, 2017 at 2 p.m. The parties shall
                                  19
                                       file a Joint Case Management Statement on September 19, 2017, proposing the discovery schedule
                                  20
                                       for the remainder of the case, identifying any procedural or other issues that require resolution at
                                  21
                                       this time, and discussing ADR.
                                  22
                                              IT IS SO ORDERED.
                                  23
                                       Dated: August 31, 2017
                                  24

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                                  26                                                                 William H. Orrick
                                                                                                     United States District Judge
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